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                    A        DIGEST

                                  OF THE




   LAWS             AND              ORDINANCES

       FOR THE GOVERNMENT OF THE MUNICIPAL CORPORATION OF THE



                                             y courcils .
    CITY OF READING , PENNSYLVANIA ,

                       IN FORCE APRIL 1 , 1897.



                       EGITIRLADINC .

                   AL FHE
                      OT     SE



            [ PUBLISHED BY AUTHORITY OF THE CITY COUNCILS.]




                COMPILED     BY LOUIS RICILARDS.



                                                                13
                         READING , PA .:
                  EAGLE BOOK PRINT, 512 PENN STREET.
                                   1897 .



                                     Billy
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                                            CITY PARK                                                   239

   law authorizing cities of this commonwealth to acquire by pur- 22April 1896..         1
  chase, or otherwise, private property for public park purposes . 7
     15. That the Mount Penn Gravity Railroad Company be and J. 1889-189Apr.
                                                                     266 .
                                                                          ,
  is hereby granted the right to occupy a portion of the northeast
   section of Penn's Common with their railroad and station ap- Right oftoway
   purtenances, and also the right to cross the Mineral Spring Gravity
                                                               Mount Penn
                                                                       R. R.
  property of the city of Reading with their railroad track .                                Company.
      16. That the right to occupy Penn's Common is granted sub                                 Id. & 2.

   ject to the control and management of the common commis- Conditions.
   sioners, and the right to cross the Mineral Spring property is
   granted subject to the control and management of the water
   commissioners.
     17. That the rights herein are granted to the said railroad Id. 23.
   company for the purpose of constructing, maintaining and op- Purpose.
   erating a gravity railroad, and shall continue during the cor
   porate existence of the said company.
      18. The employees of the water and park departments shall J.: Feb,  1894
                                                                     1893-94    | 2.
                                                                             , App.
   and are hereby directed to be paid semi-monthly, by pay roll,        632.

   to be approved by the proper departments or committees ; said Mode of pay
  pay roll to contain name of person, kind and time of service, ployees
                                                                  ment ofofempark
                                                                  and water de
  rate per day, amount due, and a receipt to be signed by the partments.
  person receiving the amount set opposite his name, and shåll be
  prepared and certified by the superintendent of each of said de-Pay  rollsbyto be
                                                                  certified      su
  partments to the city clerk and city controller.                perintendent.
      19. ''pon presentation to the city clerk of pay rolls properly Id. 3.
   certified and approved as beforementioned, the city clerk shall toHow  warrants
                                                                       be drawn
   and he is hereby directed to draw warrants as follows : *                                 and moneys
            *    For the park department, “ to the order of the super
   intendent."
      Said officials to dispose of the money in the manner indicated
   on the pay roll , and to be responsible for the proper disburse
  ment of the same. 2
                                II . Park Rules and Regulations.
     20. That the following rules and regulations be and are hereby 30 Dec.  188701.
                                                                       1887-88, App
   established as the rules and regulations for the government and        339 .

   protection of Penn's Common, viz. :
      ( 1 ) No person shall drive or ride in Penn's Common at a Limitof speed .
   rate exceeding seven miles an hour.
      ( 2 ) No one shall ride or drive therein, upon any part of the ed
                                                                     Driving  confin
                                                                        to roads.
   common , than upon the avenues and roads.
      ( 3 ) No vehicle of burden or traffic shall pass through the Vehicles
                                                                   burden, of
   common .
     ( 4 ) No person shall enter or leave the common except by exit
                                                               Entrance
                                                                    .   and
   such gates or avenues as may be for such purposes arranged.
      (5 ) No coach or vehicle used for hire shall stand upon any Coaches
                                                                  hire,
                                                                          for
   part of the common for the purposes of hire.
     ( 6 ) No person shall indulge in any threatening, abusive, in - language,
                                                                      Threatening
                                                                               etc.
   sulting or indecent language in the common .
     1 See the ordinance of October 1 , 1889 (Jour.     proper width , and that it be improved and beauti
   1889-90, App. 294), forever exempting from being     fied and kept as a park .”
   paved a triangular piece of ground at the inter        2 By the resolution of May 14, 1889, the common
   getion of Centre Avenue, Third and Windsor           commissioners were requested to see that all per
   Streets, 108 feet on Third and 51 feet on Windsor    sons employed at the park are residents and tax
   Street, deeded by the owners to citizens of the vi   payers of the city , and to give such as are willing
   cinity for conversion into a park : “ Provided ,     to earn off their taxes preference when they ap
   That it be sodded and laid out with walks of         ply for work. Jour. 1889-90 , App . 333 .
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       240                                       CITY PARK .

        30 Dec. 1887.
       Gaming and           ( 7 ) No person shall engage in any gaming, nor commit any
       obscenity.        obscene or indecent act in the common.
       Firearms, etc.       ( 8 ) No person shall carry firearms, or shoot in the common ,
                         or within fifty yards thereof, or throw stones or other missiles
                         therein .
       Disturbance of
       fish , birds or
                            ( 9 ) No person shall disturb the fish or water fowl in the pool
       animals ,         or pond, or birds in any part of the common, or annoy, strike,
                         injure, maim or kill any animal kept by direction of the commis
       Fireworks.       sioners, either running at large or confined in a close, nor dis
       Placards.
                        charge any fireworks, nor affix any bills or notices therein.
       Injury to trees,
       shrubbery ,
                           (( 10 ) No person shall cut, break, or in any wise injure or de
       statuary , etc.   face the trees, shrubs , plants , turf or any of the buildings,
                      fences, bridges, structures or statuary, or foul any fountains or
                      springs within the common .
       Dead animals ,    ( 11 ) No person shall throw any dead animal or offensive
       etc.
                      matter or substance of any kind within the boundaries of Penn's
                         Common .
       Animals at
       large.
                            ( 12 ) No person shall turn cattle, goats, swine, horses, dogs
                         or other animals loose into the common . Nor shall they be
                         permitted in or around the common , unless accompanied by
                         the owner ; and whether accompanied by the owner or not, if
                         any of said animals are found running at large in and about the
                         said common, it shall be lawful for, and the park watchman
                         or any of his assistants shall have full power and authority to
       Impounding
                       impound them , or any of them, and if the said animals or any
       and disposition of them are not called for by their respective owners within
       of estrays.     forty -eight hours after the impounding of the same, it shall be
                         lawful for the city authorities to sell and dispose of the said
                         animals or kill the same. 1
       Tearing down
       notices.             ( 13 ) No person shall injure, deface or destroy any notices,
                         rules or regulations for the government of the common, posted
                         or in any other manner permanently fixed by order or permis
                         sion of the commissioners of Penn's Common, within the limits
                         of the same .
       Leading of
       horses .
                           ( 14 ) No person shall be permitted to bring or lead horses
                         within the limits of Penn's Common, or a horse that is not
                         harnessed and attached to a vehicle, or mounted by an eques
                         trian.
       Fakirs.              ( 15 ) No person shall expose any article for sale within the
                         common, without the previous license of the commissioners.
       Musical enter
       tainments, etc.
                            ( 16 ) No person shall have any musical, theatrical or other
       Paradesor fuc: entertainment therein, nor shall any military or other parade
       neral proces
       sions.            or procession, or funeral, take place in or pass through the
                         limits of the common, without the license of the common com
                         missioners.
       Public meet.
       ings.               ( 17 ) No gathering or meeting of any kind, assembled through
                         advertisement, shall be permitted in the common without the
       Games of
                         previous permission ofthe commissioners.
       sport.
                           ( 18 ) No person shall engage in any play at base ball, cricket,
                         shinney, foot ball, croquet, or at any other games with ball and
                         bat, nor shall [any ] foot race or horse race be permitted within the
                         limits of the common, except on such grounds only as shall be
                         specially designated for such purpose .
                   i This rule amended as above by ordinance of June 26, 1895, Jour. 1895-96, App. 549.
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                        CITY PARK - CLERKS OF COUNCILS.                                                         241


     21. Any person who shall violate any of said rules and regu 30 Dec. 1887 $ 2.
  lations shall be guilty of a misdemeanor, and for each and every Penalty.
  such offence shall pay the sum of five dollars, to be recovered
  before any alderman of the city of Reading, with costs, together
  with judgment of imprisonment not exceeding thirty days, if
  the amount of said judgment and costs shall not be paid, which
  fines shall be paid into the city treasury for common purposes. 1

    1 These rules are supplemented by a series of            duties of the superintendent , gardener and park
  additional regulations adopted by the board of             police .
  park commissioners, June 14, 1895, prescribing the




                                     Clerks of Councils.
   1. Election of clerk of select council .                    4. Salary .
   2. Term .                                                   5. Repeal .
   3. Duties .                                                 6. Duties of clerk of common council.

     1. That the office of clerk of select council be and the same is 9J.Mar.  1891App.
                                                                          1890-91,  $ 1.
                                                                           352.
  hereby established . Said clerk of select council to be elected on
                                                                      Election
  the day fixed for the organization of council , or as soon there- clerk       of
                                                                           of select
  after as practicable ; a majority of the votes cast shall be neces council.
  sary for an election .                                             Id . & 2.
    2. The term of office of the said clerk shall be one year, or Term.
  until his successor shall have been duly elected and qualified.
     3. That it shall be the duty of the said clerk to keep a regu Id . $ 3.
  lar and accurate journal of the acts and proceedings of the said Duties.
  branch and prepare the same for printing, together with a cal
  endar of unfinished business at each stated meeting ; he shall
  also act as clerk of councils in joint convention.
    4. That the salary of the clerk of select council shall be three Id . $ 4 .
  hundred dollars per annum , payable as the salaries of other city Salary.
  officials are payable. 1
                                                                                                      Id . 25.
     5. That theordinance, entitled “ An ordinance defining the
  duties and fixing the bond and salary of the clerk of select Repeal.
              ‫ܕ ܕ‬
  council,” approved by the mayor December 24th, 1875, and
  any other ordinance or ordinances, or part of ordinance or ordi
  nances conflicting with the provisions of this ordinance, be and
  the same are hereby repealed so far as the same affects this ordi
  nance .

     6. It shall be the duty of the clerk of the common council to 31 Dec.2471875 1..
  keep a regular and accurate journal of the proceedings of said                                            .


  branch and prepare the same for printing, together with a calen- ofDuties ofclerk
                                                                       common
                                                                                       a

  dar of unfinished business at each stated meeting. 2                                           council.



    1 By Section 4 of the act of March 21 , 1865, cre          2 The annual salary of the clerk of common
  ating the Reading Water Board ( ante, p. 136), the         council remains at two hundred and fifty dollars,
  clerk of select council is ex -officio secretary of that   as fixed by the salary ordinance of February 17,
  body. His annual salary in that capacity is three          1877, (Jour. 1876-77, App . 183) , those of all other
  hundred and sixty dollars .                                officers therein named having been changed by
                                                             subsequent legislation,
